EXHIBIT 5
Mindy Gulledge
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United States District Judge Eleanor J. Ross
c/o United States District Court, Northern District of Georgia Richard B. Russell Federal Building
2211 United States Courthouse; 75 Ted Turner Drive, SW Atlanta, GA 30303-3309
Courtroom 1708 / Chambers 1788
Chambers (404) 215-1520
Date: January 21, 2019
Re: Sentencing of Asha R. Maurya: February 12, 2019

Dear Honorable Judge Eleanor J. Ross,

It is with great pleasure and an honor to be writing on behalf of Asha Maurya. Asha is a former co-
worker that I have known since Spring 2016. I had the pleasure of working with Asha when she was a
member of my team in the Atlanta office for Shiftgig, Inc. She reported to me directly and was the
Administrative Assistant for our branch office.
Asha’s impact on the business was more than positive. She was the epitome of organization, efficiency,
and communication excellence during her tenure. Asha’s role required her to be directly involved with
the process of hiring our staffing workforce. She handled all the necessary steps and paperwork to
complete on-boarding of workers, processed required identification for hire, and set up new hires for
payroll processing. Asha was efficient, reliable, and dependable. She conducted herself professionally
and with integrity.
In the Fall 2016, Shiftgig Corporate asked that Asha transition from the branch office to the working
exclusively in field working on site at our clients, but with no access to our corporate business
procedures due to possible exposure and overall concern about Asha’s legal case. I fought this decision
as I believed that Asha had accepted the responsibility for her actions and was prepared for the road
ahead of her to fix the damage of the victims of fraud, and was not a risk to be in her role of Office
Admin. It wasn’t easy for anyone in our office, as Asha was instrumental in establishing a working
routine that streamlined our business operational activities, and her absence was felt as soon as she
changed roles. However, Asha did excel in meeting customer’s needs in her role in the field by providing
onsite supervision of events. She became our most requested Field Supervisor, so what our branch
office lost in an Office Admin, our client’s gained on site at their locations in overseeing our workforce at
various engagements.
I would welcome the opportunity to provide a reference for Asha for future employment. She would be
an asset to any organization looking for someone to fill a role who was highly intelligent, dependable,
organized, trust worthy, communicative, and dedicated to her work. In fact, if I had a position in the
future that was in need of Asha’s skill set, I would not hesitate to hire directly or recommend her for hire
by my employer.
Asha was very up front with Shiftgig’s Human Resources and me personally about her legal situation that
she was in and was very humble in recognizing her faults, and this forthright approach, allowed Asha
and I to have strong respectful relationship. Asha has never given me any reason not to trust her
completely. Her actions and behavior convey that she knows she was wrong and regrets her actions
that resulted in victimization of others. She is a valued member of society and I have witnessed her
positive contribution, and believe that she will continue to repay the debt she owes now and going
forward. Asha is devoted to her family and friends, and with the wind at her back, I believe Asha can be
a positive influence to others as she presses forward by taking all that she has learned from what she
has been through, and be an example to others how to repent, be forgiven, and forgive yourself.

Sincerely,

Mindy Gulledge
